        Case 1:22-mc-03696-HG-PK Document 13-7 Filed 09/28/22 Page 1 of 7 PageID #: 276




              J. CAL MAYO, JR.
              cmayo@mayomallette.com
              Direct: (662) 513-4897
              Oxford and Jackson Offices




              January 21, 2022


              VIA ELECTRONIC MAIL
              Edward P. Boyle, Esq.
              Anna G. Dimon, Esq.
              Venable, LLP
              1270 Avenue of Americas, 24th Floor
              New York, NY 10020
              epboyle@venable.com
              agdimon@venable.com

              Re:       Rosenfeld v. AC2T, Inc.; 1:20cv4662 (E.D.N.Y.)
                        Written Objections and Responses of Dr. Donald Yee

              Dear Edward and Anna:

                     As you know, this law firm represents Dr. Donald Yee (“Dr. Yee”) regarding
              the subpoena issued to and served upon him by Defendant AC2T, Inc., as part of the
              above-referenced litigation. The subpoena (the “Subpoena”) was issued on or about
              December 17, 2021, and I appreciate your courtesies in extending Dr. Yee’s deadline
              to respond or make objections to the Subpoena through today’s date.

                    On behalf of Dr. Yee, I provide these written objections and responses to the
              Subpoena, pursuant to Federal Rule of Civil Procedure 45. Subject to the responses
              and objections below, Dr. Yee will produce to you any documents identified for
              production contemporaneous with delivery of this letter.

                                   GENERAL OBJECTIONS TO DEFENDANT’S SUBPOENA

                     1.     Dr. Yee objects to the date and time for compliance with the Subpoena
              as unreasonable and insufficient. Subject to and without waiver of any of his
              objections, Dr. Yee will produce any documents identified for production
              contemporaneous with delivery of this letter.


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                                                         "G"
       Case 1:22-mc-03696-HG-PK Document 13-7 Filed 09/28/22 Page 2 of 7 PageID #: 277
      MAYO MALLETTE PLLC


      January 21, 2022
      Page 2


                      2.     Dr. Yee objects to the Subpoena as violating Federal Rule of Civil
              Procedure 45(d)(1) by failing to take reasonable steps to avoid imposing undue
              burden or expense on him. Dr. Yee further objects to the Subpoena under Rule 45
              for imposing undue burden on him, as a non-party to the litigation. Dr. Yee reserves
              his right under Rule 45(d) and under any other applicable rule or statute to seek
              cost-shifting from Defendant for the significant expense that compliance with this
              Subpoena imposes, particularly as served by Defendant.

                      3.    Dr. Yee objects to the Requests to the extent they seek documents
              outside his possession, custody, or control or require him to create documents not
              in existence.

                     4.     Dr. Yee objects to the Requests to the extent they seek documents
              available to Defendant through sources other than Dr. Yee and through less
              burdensome means, including, inter alia, parties to the litigation, public sources, or
              records, and/or other sources otherwise equally available to Defendant.

                     5.      Dr. Yee objects to the Requests to the extent they seek documents
              protected from disclosure by the attorney-client privilege, the work product
              doctrine, or similar privileges, immunities, or laws. Any inadvertent disclosure of
              any documents privileged or otherwise protected from discovery shall not
              constitute a waiver of any privilege with respect to such documents or the subject
              matter.

                      6.     Dr. Yee objects to the Requests to the extent they seek documents
              concerning claims, issues, matters, and/or non-parties not at issue or involved in the
              litigation or documents not relevant to any party’s claim or defense or proportional
              to the needs of the case as overly broad and unduly burdensome.

                     7.      Dr. Yee objects to the Requests, including the Definitions and
              Instructions, to the extent they create an undue burden for Dr. Yee in responding
              and objecting to the Requests or purport to impose obligations on Dr. Yee beyond or
              inconsistent with those imposed by the Federal Rules of Civil Procedure or other
              applicable rules or orders.

                     8.     Dr. Yee objects to the Requests to the extent they seek documents
              containing confidential business or other proprietary information, confidential
              information obtained by Dr. Yee under contractual promise of non-disclosure, or
              nonpublic personal information. Relevant documents containing nonpublic personal
              information may be produced with appropriate redactions designed to minimize the
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       Case 1:22-mc-03696-HG-PK Document 13-7 Filed 09/28/22 Page 3 of 7 PageID #: 278
      MAYO MALLETTE PLLC


      January 21, 2022
      Page 3

              risk of public disclosure of identifiable nonpublic personal information. As set forth
              below, Dr. Yee will provide documents, if any, pursuant to an appropriate protective
              order regarding confidentiality of documents and information. Dr. Yee will not
              produce documents requested by Defendant containing confidential information
              neither relevant nor reasonably likely to lead to the discovery of relevant evidence,
              as such production is unduly burdensome relative to the value of such documents to
              determination of the facts and legal questions at issue in this litigation.

                      9.      Dr. Yee objects to the Requests to the extent they seek “all” documents
              “relating to” a particular topic over multiple years as requiring unreasonable, overly
              broad searches, collections, and productions of duplicative and irrelevant
              documents. Such Requests are thus unduly burdensome relative to the value of such
              documents to determination of the facts and legal questions at issue in this litigation
              and not proportional to the needs of the case.

                     10.    Dr. Yee objects to the Requests to the extent they require him to
              provide information about documents destroyed, misplaced, or otherwise disposed
              of or unavailable. Dr. Yee will produce responsive documents currently in his
              custody, possession, or control.

                      11.     As provided by Fed. R. Civ. Pr. 45(d)(3)(B)(ii), Dr. Yee objects to the
              Requests to the extent they require him to produce documents which disclose his
              expert opinion or information that does not describe specific occurrences in dispute
              in the litigation and results from his study that was not requested by a party to the
              litigation. Dr. Yee reserves the right to seek a protective order, if necessary, to
              protect his opinions and information not relevant to facts at issue in this litigation.

                     12.     Any statement that Dr. Yee will produce documents in response to any
              request should not be taken as an indication that such documents exist but only that
              Dr. Yee will produce such documents if the documents exist in his possession,
              custody, or control and are not privileged or otherwise exempt from production
              under applicable law.

                     13.   Dr. Yee objects to Instruction H to the extent it purports to impose an
              ongoing obligation to produce documents that he obtains in the future. Dr. Yee’s
              agreement to produce documents in response to any of the Requests is an
              agreement to produce documents in his custody, possession, or control at the time
              of responding to the Subpoena.

                     14.    Dr. Yee objects to the Subpoena to the extent requiring his appearance
              at a deposition on January 17, 2022. Without waiving any objection, including, but
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       Case 1:22-mc-03696-HG-PK Document 13-7 Filed 09/28/22 Page 4 of 7 PageID #: 279
      MAYO MALLETTE PLLC


      January 21, 2022
      Page 4

              not limited to, any objection under Fed. R. Civ. Pr. 45(d)(3)(B)(ii), Dr. Yee will
              appear for his deposition at an agreed time and location, as consented by Defendant.

                     Subject to and without waiving any General Objection, Dr. Yee responds to the
              specific Requests:

                              RESPONSES AND OBJECTIONS TO SPECIFIC REQUESTS

              Request No. 1: All drafts of the Paper, including manuscript revisions.

                    Response: Under Fed. R. Civ. Pr. 45(d)(3)(B)(ii), Dr. Yee objects and will not
              produce any responsive documents.

              Request No. 2: All Documents You relied on in authoring or publishing the Paper.

                    Response: Under Fed. R. Civ. Pr. 45(d)(3)(B)(ii), Dr. Yee objects and will not
              produce any responsive documents.

              Request No. 3: All Documents relating to the testing described in the Paper,
              including but not limited to lab books, research notes, Documents relating to test
              methodology, Documents describing the sourcing and chain of custody for the
              materials tested, and test results.

                    Response: Under Fed. R. Civ. Pr. 45(d)(3)(B)(ii), Dr. Yee objects and will not
              produce any responsive documents.

              Request No. 4: All Documents relating to communications with the Paper’s other
              authors or contributors concerning the Paper or its subject matter, including but not
              limited to Catherine Dean, Cameron Webb, Jennifer A. Henke, Gabriela Perezchica-
              Harvey, Gregory S. White, Ary Faraji, Joshua D. Macaluso, Rebecca Christofferson, the
              National Institute of Health, and the two anonymous reviewers or any persons acting
              on their behalf.

                    Response: Under Fed. R. Civ. Pr. 45(d)(3)(B)(ii), Dr. Yee objects and will not
              produce any responsive documents.

              Request No. 5: All Documents relating to the payment, commissioning, sponsorship,
              or any other financial contribution or assistance provided by any person in
              connection with the testing, editing, or authorship of the Paper.

                    Response: Under Fed. R. Civ. Pr. 45(d)(3)(B)(ii), Dr. Yee objects and will not
              produce any responsive documents.

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       Case 1:22-mc-03696-HG-PK Document 13-7 Filed 09/28/22 Page 5 of 7 PageID #: 280
      MAYO MALLETTE PLLC


      January 21, 2022
      Page 5

              Request No. 6: All documents relating to the selection of the nine mosquito species
              to be used in the test described in the Paper.

                    Response: Under Fed. R. Civ. Pr. 45(d)(3)(B)(ii), Dr. Yee objects and will not
              produce any responsive documents.

              Request No. 7: All Documents relating to communications with AC2T or any person
              acting on its behalf concerning the Paper, Hirsch, Bonner, this Action, or any other
              action challenging the efficacy of the Product.

                      Response: Dr. Yee will produce any responsive documents.

              Request No. 8: All Documents relating to communications with Bonner or any
              person acting on its behalf concerning the Paper, the Product, AC2T, Hirsch, this
              Action, or any other action challenging the efficacy of the Product.

                      Response: Dr. Yee will produce any responsive documents.

              Request No. 9: All Documents relating to communications with Vindhya
              Aryaprema, or persons acting on her behalf concerning the Product, AC2T, Hirsch,
              Bonner, this Action, or any other action challenging the efficacy of the Product.

                    Response: Under Fed. R. Civ. Pr. 45(d)(3)(B)(ii), Dr. Yee objects and will not
              produce any responsive documents.

              Request No. 10: All Documents relating to communications with Dr. Rui-De Xue or
              persons acting on his behalf concerning the Product, AC2T, Hirsch, Bonner, this
              Action, or any other action challenging the efficacy of the Product.

                    Response: Under Fed. R. Civ. Pr. 45(d)(3)(B)(ii), Dr. Yee objects and will not
              produce any responsive documents.

              Request No. 11: All Documents relating to communications with Gordon Cannon or
              persons acting on his behalf concerning the Product, AC2T, Hirsch, Bonner, this
              Action, or any other action challenging the efficacy of the Product.

                    Response: Dr. Yee objects to this request as seeking documents not
              reasonably related to claims or defenses in the litigation and as placing an undue
              burden on him. Dr. Yee will not produce any responsive documents.




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       Case 1:22-mc-03696-HG-PK Document 13-7 Filed 09/28/22 Page 6 of 7 PageID #: 281
      MAYO MALLETTE PLLC


      January 21, 2022
      Page 6

              Request No. 12: All Documents relating to communications with Janet Donaldson or
              persons acting on her behalf concerning the Product, AC2T, Hirsch, Bonner, this
              Action, or any other action challenging the efficacy of the Product.

                    Response: Dr. Yee objects to this request as seeking documents not
              reasonably related to claims or defenses in the litigation and as placing an undue
              burden on him. Dr. Yee will not produce any responsive documents.

              Request No. 13: All Documents relating to communications with Wendy Varnado or
              persons acting on her behalf concerning the Product, AC2T, Hirsch, Bonner, this
              Action, or any other action challenging the efficacy of the Product.

                    Response: Dr. Yee objects to this request as seeking documents not
              reasonably related to claims or defenses in the litigation and as placing an undue
              burden on him. Dr. Yee will not produce any responsive documents.

              Request No. 14: All Documents relating to communications with Plaintiff or
              Plaintiff’s Counsel or persons acting on behalf of either concerning the Paper, the
              Product, AC2T, Hirsch, Bonner, this Action, or any other action challenging the
              efficacy of the Product.

                      Response: Dr. Yee will produce any responsive documents following the
              resolution of any assertions of privilege or immunity by Plaintiff’s counsel.

              Request No. 15: All Documents relating to communications with Plaintiff’s Counsel
              regarding any other lawsuits concerning pesticides or similar products in the last
              ten (10) years.

                      Response: Dr. Yee will produce any responsive documents following the
              resolution of any assertions of privilege or immunity by Plaintiff’s counsel.

              Request No. 16: All Documents relating to communications with Colin Purrington,
              or persons acting on his behalf concerning the Paper, the Product, ACT2, Hirsch,
              Bonner, this Action, or any other action challenging the efficacy of the Product.

                     Response: Dr. Yee objects to this request as seeking documents not
              reasonably related to claims or defenses in the litigation and as placing an undue
              burden on him. Dr. Yee will not produce any responsive documents.




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       Case 1:22-mc-03696-HG-PK Document 13-7 Filed 09/28/22 Page 7 of 7 PageID #: 282
      MAYO MALLETTE PLLC


      January 21, 2022
      Page 7

              Request No. 17: All Documents relating to Your decision to not test the Product for
              the Paper.

                    Response: Under Fed. R. Civ. Pr. 45(d)(3)(B)(ii), Dr. Yee objects and will not
              produce any responsive documents.

              Request No. 18: All Documents relating to Your decision to not test the range of
              sodium chloride that the Product uses during its lifecycle (1%-1.5%).

                    Response: Under Fed. R. Civ. Pr. 45(d)(3)(B)(ii), Dr. Yee objects and will not
              produce any responsive documents.

              Request No. 19: All Documents relating to your communications with the University
              of Southern Mississippi Office of Research Administration over the last five (5) years.

                    Response: Dr. Yee objects to this request as seeking documents not
              reasonably related to claims or defenses in the litigation and as placing an undue
              burden on him. Dr. Yee will not produce any responsive documents.

              Very truly yours,

              MAYO MALLETTE PLLC




              J. Cal Mayo, Jr.
              JCM,Jr./kw

              cc:     Yitz Kopel, Esq. (via email: ykopel@bursor.com)
                      Alec M. Leslie, Esq. (via email: aleslie@bursor.com)




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